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                               Affidavit of David R. Cohen
                          Tendered Pursuant to Fed. R. Civ. P. 53


STATE OF OHIO      )
                   ) SS.                                           AFFIDAVIT
COUNTY OF CUYAHOGA )


      David R. Cohen, being first duly sworn according to law, states the following:

1.    I am an attorney at law, duly licensed to practice law in the States of Ohio, Colorado, and
      New York. My bar admissions are as follows:
             Ohio Supreme Court, Atty. No. 0055347                          Nov. 18, 1991
             Colorado Supreme Court, Atty. No. 022420                       Feb. 24, 1993
             New York Supreme Court, Atty. No. 5082193                      Dec. 5, 2012
             United Stated District Court, Northern District of Ohio        Dec. 10, 1992
             Sixth Circuit Court of Appeals                                 Mar. 2, 1993
             United States Supreme Court                                    Jan. 16, 2007

2.    I have familiarized myself with the issues and persons involved in the case captioned United
      States v. Black, case no. 16-20032 (D. Kansas). As a result of my knowledge of that case,
      I can attest and affirm that there are no non-disclosed grounds for disqualification under 28
      U.S.C. §455 that would prevent me from serving as Special Master in the captioned matter.


      FURTHER AFFIANT SAYETH NAUGHT.



                                                    ___________________________________
                                                    David R. Cohen

      Sworn to before me and subscribed in my presence this 11th day of October, 2016.
